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Ellen Smith, ISB. 5992
SMITH HORRAS, P.A.
5561 N. Glenwood St. Suite B
Boise, ID 83714
Telephone: (208) 697-5555
Facsimile: (800) 881-6219
ellen@smithhorras.com

Attorneys for Defendant,
MIKHAIL IYERUSALIMETS

                              UNITED STATES DISTRICT COURT

                                       DISTRICT OF IDAHO

UNITED STATES OF AMERICA,                                 Case No.: CR18-258-S-EJL

         Plaintiff,                DEFENDANT MIKHAIL
 vs.                               IYERUSALIMETS’ MOTION
                                   TO EXCLUDE OPINION
PAVEL     BABICHENKO,     GENNADY TESTIMONY CONCERNING
BABITCHENKO,   PIOTR   BABICHENKO, HIS STATE OF MIND
TIMOFEY    BABICHENKO,    KRISTINA
BABICHENKO, NATALYA BABICHENKO,
DAVID BIBIKOV, ANNA IYERUSALIMETS,
MIKHAIL IYERUSALIMETS, and ARTUR
PUPKO,

        Defendants.

______________________________________________________________________________

       COMES NOW, Defendant Mikhail Iyerusalimets, by and through his attorney of a record,

Ellen Smith and hereby files this Motion in Limine requesting the Court exclude evidence and

preclude the Government from eliciting opinion testimony or otherwise introducing evidence of

the belief or opinion of any witness (other than Mr. Iyerusalimets if he chooses to testify) regarding

Mr. Iyerusalimets’ “state of mind.”

       The Government has charged the defendants with Conspiracy to Commit Wire Fraud (18

U.S.C. §§ 1349, 1343), Wire Fraud (18 U.S.C. §1343), Mail Fraud (18 U.S.C. 1341), Conspiracy

to Traffic in Counterfeit Goods [18 U.S.C.§2320(a), (b)(1), (f)(1)], Trafficking in Counterfeit
DEFENDANT MIKHAIL IYERUSALIMETS’ MOTION TO EXCLUDE OPINION TESTIMONY CONCERNING HIS STATE OF
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Goods [18 U.S.C. §2320(a), (b)(1)], Conspiracy to Launder Money [18 U.S.C. §§1956(a)(1)(B)(i),

2] and Money Laundering [18 U.S.C. §§1956(a)(1)(B)(i), 2]. For each of these charges, the

Government must prove beyond a reasonable doubt the elements set forth in each of these statutes.

Notably, Mr. Iyerusalimets’ “state of mind” is a necessary element that the government must prove

beyond a reasonable doubt in order to prevail on the charged counts in the Superseding Indictment.

       For example, to prove Conspiracy to Commit Wire Fraud and Wire Fraud under 18 U.S.C.

§§1349 and 1343, it must be proven beyond a reasonable doubt that Mr. Iyerusalimets had the

“intent to defraud.” There is the identical intent requirement for Mail Fraud pursuant to 18 U.S.C.

§1341. With regard to the charges related to Conspiracy to Traffic in Counterfeit Goods and

Trafficking in Counterfeit Goods pursuant to 18 U.S.C. §2320, the government must prove that

the alleged trafficking was “intentional” and that Mr. Iyerusalimets “knew” that the “mark so used”

was counterfeit.

       Although witnesses generally may testify about what Mr. Iyerusalimets said and did, the

Court should preclude witnesses from testifying about their opinion regarding his state of mind,

including his intentions or that Mr. Iyerusalimets “knew” or “should have known” of any fact,

including the allegedly counterfeit nature of any product. See FRE 701.

       Under FRE 701, a lay witness may testify “in the form of an opinion” if it is “(a) rationally

based on the perception of the witness; (b) helpful to a clear understanding of the witness’

testimony or the determination of a fact in issue and (c) not based on scientific, technical, or other

specialized knowledge.” FRE 701. However, a lay opinion witness “may not testify based on

speculation, rely on hearsay or interpret unambiguous, clear statements.” United States v. Vera,

770 F.3d 1232, 1242 (9th Cir. 2014).

       Witnesses may not testify to the mental impressions of another person or testify that a legal

standard (knowledge/intent) has or has not been met. See, e.g. United States v. Lloyd, 807 F.3d
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1128, 1155-56 (9th Cir. 2015) (testimony about what telemarketers knew and intended in wire

fraud prosecution “not admissible as lay opinion testimony under Rule 701”); U.S. v. Kupau, 781

F.2d 740, 745 (9th Cir. 1986) (testifying to another’s state of mind “constitute[s] speculation” and

such testimony should be excluded). Even expert witnesses are prohibited from stating an opinion

about “whether the defendant did or did not have a mental state or condition that constitutes an

element of the crime charged or of a defense. Those matters are for the trier of fact alone.” FRE

704 (b).

       Whether Mr. Iyerusalimets had the scienter necessary to be convicted on any of the charged

counts is for the jury alone to determine. The government should further not be permitted to elicit

opinion testimony from any witness about Mr. Iyerusalimets’ “state of mind” related to an element

of the charged counts. See Lloyd, 807 F.3d at 1154-55 (witness improperly opined that defendant

committed fraud); United States v. Hauert, 40 F.3d 197 200 (7th Cir. 1994) (“defendant’s

knowledge about tax laws and defendant’s state of mind . . . are ordinarily not a proper subject for

lay witness opinion testimony”); United States v. Dashner, No. 12 Cr-00646.

       The government, therefore, should be precluded from eliciting opinion testimony or

otherwise introducing evidence of the “belief” or “opinion” of any witness (other than Mr.

Iyerusalimets, himself, should he testify) regarding Mr. Iyerusalimets’ state of mind.          The

government should be ordered to instruct its witnesses prior to their testimony that they are

precluded by Court order from offering such testimony.


Dated: April 7, 2021.
                                                     Respectfully Submitted,


                                                     By___________________________
                                                     Ellen N. Smith
                                                     Attorney for Defendant
                                                     MIKHAIL IYERUSALIMETS
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                                CERTIFICATE OF SERVICE


        I hereby certify that on this 7th day of April, 2021, I filed the foregoing electronically
 through the CM/ECF system, which caused the parties or counsel to be served by electronic
 means, as more fully reflected on the Notice of Electronic Filing:

Katherine L. Horwitz
Assistant United States Attorney Office of the
United States Attorney 1290 West Myrtle
Street, Suite 500
Boise, ID 83702
Kate.Horwitz@usdoj.gov

Christian S. Nafzger
Assistant United States Attorney Office of the
United States Attorney 1290 West Myrtle
Street, Suite 500
Boise, ID 83702
Christian.Nafzger@usdoj.gov

Tim Flowers
U.S. Department of Justice
1301 New York Ave. NW, Suite 600
Washington, D.C. 20530
Timothy.Flowers2@usdoj.gov

John DeFranco
1031 E. Park Blvd.
Boise, ID 83712 jcd@greyhawklaw.com
Attorney for Pavel Babichenko

Paul E. Riggins
380 South 4th Street, Ste. 104
Boise, ID 83702 rigginslaw@gmail.com
Attorney for Piotr Babichenko

Rob S. Lewis
913 W. River Street, Ste. 430
Boise, ID 83702 office@roblewislaw.com
Attorney for Timofey Babichenko

Greg S. Silvey
P.O. Box 5501
Boise, ID 83705
greg@idahoappeals.com
Attorney for Kristina Babichenko
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J.D. Merris
913 W. River Street, Ste. 420
Boise, ID 83702
jmerris@earthlink.net
Attorney for Natalya Babichenko

Robyn A. Fyffe
P.O. Box 5681 Boise, ID
83705 robyn@fyffelaw.com
Attorney for David Bibikov

Charles Peterson
Melissa Winberg
Federal Defender Services of Idaho
702 W. Idaho Street, Ste. 1000
Boise, ID 83702
melissa_winberg@fd.org
Attorneys for Anna Iyerusalimets

Jeffrey Brownson
223 North 6th Street, Suite 215
Boise, Idaho 83702
jb@jeffreybrownsonlaw.com
Attorney for Gennady Babitchenko

Thomas B. Dominick 500 W.
Bannock Street Boise, Idaho 83702
tom@dominicklawoffices.com
Attorney for Artur Pupko

                                                    /s/ Ellen Smith




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MIND
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